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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Jesse Mitchell, et al.
                              Plaintiff,
v.                                                Case No.: 1:14−cv−09178
                                                  Honorable Matthew F. Kennelly
AbbVie, Inc., et al.
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 8, 2018:


       MINUTE entry before the Honorable Matthew F. Kennelly: Jury trial held on
3/8/2018 and continued to 3/9/2018 at 9:00 AM. Mailed notice. (pjg, )




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